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                             UNITED STATES DISTRICT COURT
                            CENTRAL DISTRICT OF CALIFORNIA

                               CIVIL MINUTES -- GENERAL

Case No.     2:21-cv-06638-MWF-AGR                               Dated: November 12, 2021

Title:       Infinity Select Insurance Company v. Good Brothers LLC et al

PRESENT: HONORABLE MICHAEL W. FITZGERALD, U.S. DISTRICT JUDGE

             Rita Sanchez                                      None Present
             Courtroom Deputy                                  Court Reporter

ATTORNEYS PRESENT FOR PLAINTIFFS:                 ATTORNEYS PRESENT FOR DEFENDANTS:

             None Present                                    None Present

PROCEEDINGS (IN CHAMBERS):                  ORDER TO SHOW CAUSE RE DEFAULT
                                            JUDGMENT

      In light of the Default By Clerk entered on November 8, 2021, the Court sets a hearing
for Order To Show Cause Re Default Judgment for December 13, 2021 at 11:30 a.m. If a
Motion for Default Judgment is filed prior to this hearing, the hearing on the Order To Show
Cause will be discharged, and no appearance will be necessary.

     Any Motion for default judgment must comply with the Court's Procedures and
Schedules. See http://www.cacd.uscourts.gov/honorable-michael-w-fitzgerald.

         IT IS SO ORDERED.




MINUTES FORM 90                                                         Initials of Deputy Clerk   rs
CIVIL GEN
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